Case: 4:06-cv-01837-HEA Doc. #: 34-3 Filed: 05/29/08 Page: 1 of 1 PagelD #: 668

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

CIVIL DIVISION
ILLINOIS VALLEY PAVING COMPANY, )
)
Plaintiff, )
)
Vs. ) No: 06 CV 1837

)

OLD REPUBLIC INSURANCE COMPANY, ) Honorable Henry Autrey
et al., )
)
Defendants )

Good cause appearing, THIS COURT HEREBY GRANTS Plaintiff Illinois Valley
Paving Company’s Motion for Leave to File Second Amended Complaint. The Second

Amended Complaint shall be filed.

 

U.S. District Judge

 

Date
